 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.1 Page 1 of 27



 1   R. Joseph Barton (Cal Bar No. 212340)
     Peter Romer-Friedman (D.C. Bar No. 993376) Pro Hac Vice to be Filed
 2   COHEN MILSTEIN SELLERS & TOLL PLLC
     1100 New York Ave. NW, Suite 500
 3   Washington, DC 20005
     Telephone: (202) 408-4600
 4   Email: jbarton@cohenmilstein.com

 5   Matthew Z. Crotty (WSBA 39284, ISB 8653) Pro Hac Vice to be Filed
     CROTTY & SON LAW FIRM, PLLC
 6   421 West Riverside, Suite 1005
     Spokane, WA 99201
 7   Telephone: (509) 850-7011
     Email: matt@crottyandson.com
 8
     Attorneys for Plaintiff
 9
                           UNITED STATES DISTRICT COURT
10                       SOUTHERN DISTRICT OF CALIFORNIA

11
12 VANESSA MUNOZ, on behalf of                            '14CV1547 MMA BLM
                                                Case No: ________________
   herself and all others similarly situated,
13                                              CLASS ACTION COMPLAINT FOR
                Plaintiff,                      VIOLATIONS OF THE UNIFORMED
14                                              SERVICES EMPLOYMENT AND
          vs.                                   REEMPLOYMENT RIGHTS ACT,
15                                              38 U.S.C. §§ 4301-4335
   INGENESIS STGi PARTNERS, LLC;
16 STG INTERNATIONAL, INC.; and                 EXEMPT FROM FILING FEES
   INGENESIS, INC.,                             UNDER 38 U.S.C. § 4323(H)(1)
17              Defendants.                     JURY TRIAL DEMANDED
18

19
20         Plaintiff Vanessa Munoz alleges, on behalf of herself and all others similarly
21 situated, as follows:
                                      INTRODUCTION
22
           1.    This is an action brought pursuant to the Uniformed Services
23
     Employment and Reemployment Rights Act (“USERRA”), 38 U.S.C. § 4301 et seq.,
24
 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.2 Page 2 of 27



 1 on behalf of a class of current and former employees of Defendants InGenesisSTGi
 2 Partners, LLC, STG International, Inc., and InGenesis, Inc., challenging Defendants’
 3 policies that penalize employees who take leave from employment to serve in the

 4 United States Armed Forces.
 5         2.     First, Defendants have a policy or practice that requires employees who

 6 serve in the military to use their accrued Paid Time Off (PTO) for military leave

 7 concurrent with their military leave. Second, Defendants permit their employees to
 8 take up to 40 hours of Leave Without Pay (LWOP) per year, but require employees
 9 who serve in the military to use their allotted LWOP to serve in the military once their
10 accrued PTO is exhausted. Third, once an employee who serves in the military has
11 exhausted both his or her accrued PTO and allotted LWOP, Defendants’ policy or
12 practice subjects the servicemember-employee to discipline, including termination, for
13 taking any further leave. Defendants applied each of those policies to Plaintiff.
14         3.     Each of these policies or practices violates one or more provisions of

15 USERRA and wrongfully denies the rights, benefits, and/or employment of
16 Defendants’ employees who serve in the Armed Forces. As such, Plaintiff seeks a
17 declaration that these policies or practices violate USERRA, an injunction barring
18 Defendants from continuing these policies or practices in the future, and an order

19 requiring Defendants to restore benefits, pay damages and/or offer reinstatement of
20 employment to servicemember-employees who have been adversely affected. Finally,
21 Defendants hold themselves out to be “human resources” or “workplace solutions”

22 specialists, make substantial revenues from defense contracts, give lip-service to their
23 dedication to servicemembers, and, in the case of Plaintiff, were explicitly apprised of
24 Plaintiff’s right to take military leave. In so acting, Defendants implemented and
                                                2
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.3 Page 3 of 27



 1 ratified policies that directly contravene USERRA. As such, these violations should
 2 be considered willful and Defendants should be ordered to pay liquidated damages.
 3                                 JURISDICTION & VENUE

 4           4.     Subject matter jurisdiction is conferred on this Court by 38 U.S.C. §

 5 4323(b)(3), which provides that the district courts of the United States have
 6 jurisdiction over a USERRA action brought against a private employer. This Court

 7 also has subject matter jurisdiction over this action under 28 U.S.C. § 1331, because
 8 this action arises under laws of the United States, and under 28 U.S.C. § 1343(a)(4),
 9 because Plaintiff seeks to secure relief under an Act of Congress that protects civil
10 rights.
11           5.     Venue is proper in this district under 38 U.S.C. § 4323(c)(2) and 28

12 U.S.C. § 1391(b)(2). All three Defendants are private employers, at least two of
13 which maintain a place or places of business in this District, and regularly employ
14 workers in this District. Additionally, a substantial part, if not nearly all, of the events
15 giving rise to the claims in this action occurred in this District.
16                                           PARTIES

17           6.     Plaintiff Vanessa Munoz is, and has been, a resident of San Diego,

18 California her entire life except for the time that she was on active duty in the United

19 States military. Ms. Munoz has served in the United States military since 2007.
20 Plaintiff served on active duty as a hospital corpsman in the United States Navy from
21 May 2007 until she was honorably discharged in April 2009. Since her honorable

22 discharge, Plaintiff has served, and continues to serve, in the Navy Reserves.
23           7.     Defendant InGenesis STGi Partners, LLC (“InGenesisSTGi” or the

24 “Joint Venture”) describes itself on its web site as a joint venture between InGenesis,
                                                  3
                             CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                  THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.4 Page 4 of 27



 1 Inc. and STG International, Inc. The Joint Venture’s headquarters are located at 6609
 2 Blanco Road, Suite 300, San Antonio, Texas, 78216. InGenesisSTGi is an employer
 3 within the meaning of USERRA § 4303(4)(A) because it paid the salary or wages for

 4 work performed by Plaintiff, and exercised control over Plaintiff's employment.
 5 Among other things, InGenesisSTGi entered into an employment agreement with
 6 Plaintiff, employed Plaintiff to work at the TRICARE Outpatient Clinic Claremont in

 7 San Diego, California, received Plaintiff’s time sheets and tax documents, and paid
 8 Plaintiff for the work she performed.
 9         8.     Defendant STG International, Inc. (“STGi”) describes itself on its web

10 site as a workforce solutions company. The company has an office in Alexandria,
11 Virginia, and has its West Coast regional office in San Diego, California. STG
12 International describes itself on its website as “a proud partner of MSEP [Military
13 Spouse Employment Partnership].” STG International employs approximately 1,700
          1
14 people. Defendant STGi is an employer within the meaning of USERRA, 38 U.S.C.
15 § 4303(4)(A), because it had control over the employment of Plaintiff and the Class.
16 Among other things evidencing STGi’s control over Plaintiff’s employment, STGi’s
17 human resource staff handled most of the responsibilities related to Plaintiff’s
18 employment, STGi’s Assistant Vice President of Human Resources signed Plaintiff’s

19 employment agreement, STGi’s human resources staff communicated with Plaintiff
20 about her military leave and other personnel issues, and STGi human resource staff
21 participated in the decision to terminate Plaintiff. As one of the two owners of the

22
23         1
           http://www.bizjournals.com/bizjournals/beginners/2010/her-business-plan-for-
24 stg.html?page=all
                                               4
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.5 Page 5 of 27



 1 Joint Venture, STGi had control over InGenesisSTGi and exercised control over the
 2 employment of InGenesisSTGi’s workforce.
 3        9.      Defendant InGenesis, Inc. (“InGenesis”) describes itself on its web site as

 4 a human resources company. The company’s headquarters are located at 6609 Blanco
 5 Road, Suite 300, San Antonio, Texas, 78216, the same address as the Joint Venture.
                                                          2
 6 Defendant InGenesis employs approximately 1,600 people. Defendant InGenesis is

 7 an employer within the meaning of USERRA, 38 U.S.C. § 4303(4)(A), because it had
 8 control over the employment of Plaintiff and the Class. Among other things
 9 evidencing InGenesis’s control over Plaintiff’s employment, InGenesis was involved
10 in the decision to terminate Plaintiff’s employment. As one of the two owners of the
11 Joint Venture, InGenesis had control over InGenesisSTGi, and exercised control over
12 the employment of InGenesisSTGi’s workforce.
13                               CLASS ACTION ALLEGATIONS

14        10.     Plaintiff brings this action as a class action pursuant to Rule 23 of the

15 Federal Rules of Civil Procedure on behalf of current and former employees of
16 Defendants InGenesisSTGi, InGenesis or STGi:
17        (A) who are or were required to use vacation leave, other annual leave, or

18        similar leave, including PTO or LWOP, during a period in which they served in

19        the military and were employed by one or more of the Defendants; or

20        (B) who were denied reemployment or terminated or subject to a policy by

21        which they would be denied reemployment or termination for using excessive

22        leave while serving in the military.

23        2
          http://www.hispanicbusiness.com/2013/7/10/ingenesis_among_fastest
24 growing_staffing_firms.htm
                                                 5
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.6 Page 6 of 27



 1        11.     Excluded from the Class are the following persons: (a) all former or

 2 current employees who previously reached settlements with or judgments against
 3 Defendants resolving or releasing any claims arising during the Class Period under

 4 USERRA related to their use of leave during a period of military service, and (b) any
 5 person who had any involvement in adopting or implementing Defendants’ policies
 6 regarding military leave.

 7        Impracticability of Joinder

 8        12.     The class is so numerous that joinder of all members is impracticable.
                                                    3
 9 Based on information on Defendants’ own websites, collectively Defendants had
10 more than 3,200 employees in 2013. Upon information and belief, based on the
11 number of veterans in the country and Defendants’ propensity to hire veterans and
12 work under defense contracts, at least dozens, and likely hundreds, of current and
13 former employees are members of the proposed class.
14        13.     Upon information and belief, the members of the Class are

15 geographically dispersed throughout the nation. According to a recent press release
16 on Defendant STGi’s web site, STGi “employs professionals in 40 states and
                                                 4
17 territories, with offices across the country.” According to InGenesis’s website, the
                                                                           5
18 company currently posts job openings to hire employees in all 50 states. Upon

19
          3
            http://www.stginternational.com/stg2/uploads/Press/MLee_Growth_
20 Strategist.pdf (1700 employees); http://www.sawoman.com/marchapril-
   2014/profile/veronica-edwards-founder-ingenesis-and-entrepreneur available at
21
   http://www.ingenesis.org/AboutUs/MediaCenter.aspx.
22        4
            http://www.stginternational.com/stg2/uploads/Press/Service_Excellence
   _Awards.pdf
23        5

24 http://corp.ingenesis.org/ApplicantsEmployees/Applicants/JobPostingOpenings.aspx
                                                6
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.7 Page 7 of 27



 1 information and belief, Defendant InGenesis STGi Partners, LLC employs workers in
 2 many of the states in which its owners – InGenesis, Inc. and STGi – also employ
 3 workers.

 4        Commonality

 5        14.     The central questions in this case concern Defendants’ policies or

 6 practices with respect to employees who take leave from Defendants to serve in the

 7 military and whether they violate USERRA. Specifically, this case challenges
 8 Defendants’ policies requiring employees to use Paid Time Off or other leave while
 9 serving in the military and Defendants’ policy of refusing reemployment to or
10 disciplining employees for using “excessive” leave without pay to serve in the
11 military. As a member of Defendants’ human resource department admitted that
12 Plaintiff was terminated pursuant to such a personnel policy, the answer to these
13 questions will produce common answers. To the extent that either of those policies is
14 determined to violate USERRA, the remedy will be a formulaic one that restores such
15 employees’ leave, a formulaic calculation of back pay and requiring Defendants to
16 allow the reinstatement of any such employees who were terminated pursuant to
17 Defendants’ policies.
18        Typicality

19        15.     Plaintiff’s claims are typical of the other members of the proposed Class.

20 Plaintiff challenges several personnel policies that Defendants implemented regarding
21 its employees who took military leave. Each of those policies was applied to and

22 adversely affected Plaintiff.
23        16.     The relief sought consists primarily of a declaration establishing that

24 Defendants’ policies violated USERRA and remedies that necessarily flow from that
                                                 7
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.8 Page 8 of 27



 1 declaration to restore Plaintiff and the Class to the position that they would have
 2 occupied but for those illegal policies.
 3         Adequacy

 4         17.     Plaintiff will fairly and adequately protect the interests of other members

 5 of the Class. Plaintiff is aware of no conflict with any other member of the Class.
 6 Plaintiff understands her obligations as a class representative, has already undertaken

 7 steps to fulfill them, and is prepared to continue to fulfill her duties as class
 8 representative.
 9         18.     Defendants have no unique defenses against the Plaintiff that would

10 interfere with Plaintiff’s representation of the Class.
11         19.     Plaintiff’s counsel are experienced in federal court class action litigation,

12 including pension and civil rights litigation, and have experience and expertise
13 litigating USERRA class action cases.
14         Rule 23(b)(2)

15         20.     This action is properly maintainable as a class action under Rule 23(b)(2)

16 of the Federal Rules of Civil Procedure.
17         21.     Defendants are alleged to have violated USERRA in a manner as to all

18 members of the Class. As such, Defendants have acted or refused to act on grounds

19 that apply generally to the Class. As a result, final declaratory relief is appropriate
20 respecting the Class as a whole.
21         22.     The monetary relief that Plaintiff seeks either flows from and/or is

22 incidental to the declaratory relief sought, as it flows directly from the ordering of
23 such declaratory relief and can be calculated in a simple, objective, and mechanical
24 manner.
                                                  8
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
 Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.9 Page 9 of 27



 1         Rule 23(b)(3)

 2         23.     This action is also properly maintainable as a class action under Rule

 3 23(b)(3) of the Federal Rules of Civil Procedure.

 4         24.     The questions of law and fact common to the members of the Class

 5 predominate over questions affecting only individual members and a class action is
 6 superior to other available methods for the fair and efficient resolution of this

 7 controversy. By resolving the common issues described above in a single class
 8 proceeding, each member of the proposed class will receive a determination of
 9 whether Defendants’ policies violated USERRA and the remedy that should be
10 provided under USERRA.
11         25.     Upon information and belief, there are no other pending lawsuits in

12 which members of the Class have raised similar allegations involving this Plan.
13         26.     This is an appropriate forum for these claims because, among other

14 reasons, jurisdiction and venue are proper, and at least two, if not all, of the
15 Defendants conduct business in and have a significant presence this District. As a
16 result, a substantial part of the Class likely resides in this District.
17         27.     There are no difficulties in managing this case as a class action

18                                FACTUAL ALLEGATIONS

19 Plaintiff’s Background
20         28.     Plaintiff Munoz joined the United States Navy in July 2007, attended

21 hospital corpsman school and then served as a hospital corpsman in the United States

22 Navy on active duty until November 2009. Since November 2009, Plaintiff Munoz
23 has been a hospital corpsman in the United States Navy Reserves in San Diego,
24 California.
                                                  9
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.10 Page 10 of 27



 1        29.     From June 2012 until March 2013, Plaintiff worked as a Certified

 2 Medical Assistant for STG International, Inc. in San Diego. At the request or decision
 3 of STG International, Ms. Munoz entered into an employment agreement with

 4 InGenesisSTGi on March 1, 2013. Plaintiff was hired by InGenesisSTGi in part based
 5 on the recommendation of Plaintiff’s supervisor at the Naval Branch Clinic, Kearny
 6 Mesa, who gave Plaintiff the highest rating of “excellent” in all 14 categories on

 7 Defendant InGenesis’s professional reference form.
 8        30.     From March 1, 2013 until her termination on September 30, 2013, Ms.

 9 Munoz worked as a Certified Medical Assistant for InGenesisSTGi at the TRICARE
10 Outpatient Clinic Claremont in San Diego, California. Plaintiff was terminated on the
11 morning of the first day that she sought to return and/or returned to work from
12 military leave.
13 Defendants’ Background
14        31.     On their websites, in press releases, and to their employees, Defendants

15 STGi and InGenesis represent that they support members of the military and veterans.
16 For example, in a press release, Defendant STGi claims to have
                                                       6
17 “always been a proud supporter of our U.S. military” and claims on its web site that it
18 is “proud to support active and Veteran members of our U.S. armed forces” and “will
                                       7
19 gladly work with military families.” On their websites, both STGi and InGenesis tout
20
21

22
          6
         http://www.stginternational.com/stg2/uploads/Press/STGi_Donates_Toys_
23 for_Tots.pdf
          7
24            http://www.stginternational.com/stg2/pages/MSEP.asp
                                               10
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.11 Page 11 of 27



 1 their philanthropy and connection to organizations that assist members of the military
                      8
 2 or their families.
 3         32.     Defendants earn substantial revenues from contracts with the U.S.

 4 military and the U.S. Government. For example, on January 17, 2013, the Navy
 5 awarded Defendant InGenesisSTGi a 60 month contract to provide physical therapists,
 6 medical technologists, pharmacy technicians, and medical assistants to “the Naval

 7 Medical Center in San Diego, Calif., and any associated branch clinic located in San
                                                      9
 8 Diego County or San Bernadino County, California.”
 9         33.     On its web site, Defendant InGenesis boasts that “since 2008 [InGenesis]

10 ha[s] been awarded contracts [with the U.S. Government] with aggregate lifetime
                                  10
11 value in excess of $1 billion.” In 2012, InGenesis won a share of a U.S. Department
12 of Defense $492-million, four-year multiple award contract to provide a range of
13 professional medical staff to Army, Air Force and Navy medical treatment facilities in
                   11
14 Washington, D.C. In 2012, InGenesis, Inc. announced that it was awarded a federal
15 contract with the U.S. Immigration and Customs Enforcement Health Services Corps.,
                                        12
16 which was valued up to $249 million.
17         8
           E.g., http://www.stginternational.com/stg2/pages/MSEP.asp (“As a member of
18 the Military Spouse Employment Partnership (MSEP), STGi is excited to expand our
   support to military families.”); http://www.ingenesis.org/AboutUs/Philanthropy.aspx
19 (offering “Military Heroes Medical Career Scholarships”).
           9
20             http://www.defense.gov/Contracts/Contract.aspx?ContractID=4959
           10
             http://corp.ingenesis.org/WorkforceSolutions/InGenesisGovernment
21
     Services.aspx
22         11
             http://www.prnewswire.com/news-releases/ingenesis-earns-portion-of-492-
     million-multiple-award-federal-contract-142979315.html
23         12
            http://www.mysanantonio.com/business/article/InGenesis-lands-249M-
24 contract-3719936.php
                                                11
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.12 Page 12 of 27



 1         34.     Based on information on its web site, a significant, if not the

 2 overwhelming, portion of Defendant STGi’s business consists of contracts with the
 3 federal government, both civilian and Department of Defense. For example, in 2010,

 4 STGi was awarded a contract with the Department of Veterans Affairs to manage a
                                                         13
 5 facility to provide health care service for veterans.
 6         35.     Upon information and belief, Defendant InGenesisSTGi also has

 7 significant contracts to perform services for the Department of Defense, including
 8 services at the facilities where Plaintiff performed services, and earns millions of
 9 dollars from government contracts with the Department of Defense.
10 Defendants’ Policies
11         36.     In contrast to their public image as strong supporters of members of the

12 military and notwithstanding that significant portions of their revenues are generated
13 by contracts with the U.S. Government and the U.S. Military, Defendants maintain
14 human resources policies that harm employees who take leave to serve in the U.S.
15 Armed Forces. Based on statements made to Plaintiff and records provided to
16 Plaintiff, Defendants have a policy or practice of requiring their employees who take
17 authorized military leave to serve in the U.S. Armed Forces to apply towards such
18 military leave any Paid Time Off (PTO) and/or Leave Without Pay (LWOP), both of

19 which are benefits that Defendants provide to its employees as a benefit or right of
20 employment.
21         37.     According to their websites, Defendants provide their employees with a

22 range of employee benefits or rights. Among those benefits are Paid Time Off (PTO)
23         13
           http://www.stginternational.com/stg2/uploads/Press/CBOC_Open_House
24 April_21_2010.pdf
                                                 12
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.13 Page 13 of 27



 1 and Leave Without Pay (LWOP). PTO allows an employee to take leave from work
 2 and receive his or her ordinary compensation without any discipline or consequences.
 3 LWOP allows an employee to take unpaid leave from work without any discipline or

 4 consequences.
 5         38.     For example, Plaintiff was entitled to accrue 8 hours of PTO for every 80

 6 hours that she worked for Defendants that she could use at a later date. In addition,

 7 Plaintiff was entitled to use up to 40 hours of LWOP each year. Finally, Plaintiff was
 8 also entitled to receive 120 hours of paid military leave per year.
 9         39.     Under Defendants’ policy regarding military leave, employees who take

10 leave to serve in the military are required to use their PTO earned to date as leave for
11 their military service, and if they have insufficient PTO or once their PTO is
12 exhausted, employees are required to use LWOP as leave for their military service.
13 As a result of Defendants’ policy, employees who take military leave lose the ability
14 to use their PTO and/or LWOP during periods in which they are not engaged in
15 military leave. Additionally, as a result of Defendants’ policy, employees who take
16 military leave and exhaust all of their accrued PTO and LWOP are subject to
17 discipline, including termination, or are refused reemployment for using all of their
18 PTO and/or LWOP.

19 Effect of Defendants’ Policy on Plaintiff
20         40.     During Plaintiff’s employment, she was required to take military leave to

21 complete training and military drills in the U.S. Navy Reserves on several occasions.

22         41.     Prior to taking military leave, Plaintiff sent her military orders and
23 training duty sheets to her supervisor, Edna Collins, a Senior Nurse Officer at the
24
                                                  13
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.14 Page 14 of 27



 1 clinic, and Elham Ramirez (aka Elle Ramirez), a human resources employee of
 2 Defendant STG International, Inc. in STGi’s San Diego office.
 3         42.     Plaintiff Munoz was instructed by Ms. Ramirez, a human resources

 4 employee of one or more of the Defendants with authority or responsibility regarding
 5 payroll, that employees were required to first use PTO and then use LWOP during
 6 periods of military leave. Contrary to the emails that she received in response to her

 7 notification of her military leave, Plaintiff was informed that it was not an option for
 8 her to use PTO, but she was required to exhaust her PTO for military leave. Plaintiff
 9 followed that direction and exhausted all of her PTO and LWOP during periods of
10 military leave in 2013.
11         43.     Between March 1, 2013 and September 25, 2013, Plaintiff took the

12 following leave:
13
         Dates        PTO     LWOP “Hrs.   Requested Reason Stated on
14                    Hrs.    Hrs. Worked” Military  Timesheet
                                           Leave
15       3/18         5.5     2.5                    Back pain due to car
                                                     accident
16
         3/28         7.75    .25                    None
17       4/3                  8                      None
         4/15 –                    40          Y     Reserve duty
18       4/19
         4/22 –                        40               Y        Reserve duty
19
         4/26
20       4/29 –                        24               Y        Reserve duty
         5/1
21       5/6 – 5/7                     16               Y        R[eserve] D[uty]
         5/8 – 5/9    16                                Y        None
22       5/10         7.25    .75                       Y        None
23       5/13 –               40                        Y        None
         5/17
24       5/20         4       4                         Y        RD
                                               14
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.15 Page 15 of 27



 1       Dates        PTO     LWOP “Hrs.   Requested Reason Stated on
                      Hrs.    Hrs. Worked” Military  Timesheet
 2                                         Leave
 3       5/21                      0           Y     RD
         5/22 –               24               Y     RD
 4       5/24
         5/27 –               40                        Y          RD
 5       5/31
         6/3 – 6/4            16                        Y          Reserve duty
 6
         6/5       .50        7.50                                 Reserve duty
 7       6/13                 8                                    Sick / illness
         6/14                 8                                    Sick / illness
 8       6/24      4.75       3.25                                 None
         7/5       8                                               Requested
 9
         7/11                 8                                    Doctor’s note
10                                                                 [provided]
         7/23         8                                            Called off
11       9/3          8                                            Sick / eye infection
         9/4          8                                            Doctor’s note
12                                                                 provided
13       9/23 –       16                                Y          Military leave
         9/24
14       9/25         7       1                         Y          Military leave
         9/26 –               16                        Y          Military leave
15       9/27
         Totals:      100.75 187.25     120.00
16
17         44.     As reflected by the above chart, the U.S. Navy activated Ms. Munoz and

18 she engaged in military service from Monday, April 15, 2013 to Wednesday, May 1,

19 2013, and again from Monday, May 6, 2013 to Tuesday, June 4, 2013. Prior to taking
20 each of these periods of military leave, Plaintiff provided proper notice to her
21 employer(s) pursuant to USERRA, 38 U.S.C. § 4312(a), and the human resources

22 staff of her employer(s) acknowledged and approved her military leave. After each of
23 these periods of military leave, Plaintiff returned to work on a timely basis no later
24 than the end date of her authorized period of military leave.
                                                 15
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.16 Page 16 of 27



 1         45.     For her military leave in April 2013, Plaintiff received payment for at

 2 least some of her military leave.
 3         46.     Between Monday, September 23, 2013 and Friday, September 27, 2013,

 4 Plaintiff took leave from her employment to serve in the military. Prior to taking this
 5 period of leave, Plaintiff provided proper notice to her employer(s) pursuant to
 6 USERRA, 38 U.S.C. § 4312(a), and human resources staff at her employer(s)

 7 acknowledged and approved her military leave. At the conclusion of this period of
 8 military leave, Plaintiff attempted to return to work on a timely basis no later than the
 9 end date of her authorized period of military leave.
10         47.     Based on the employment records provided to Plaintiff by Defendant

11 InGenesisSTGi after the termination of her employment, Plaintiff exhausted her PTO
12 at least by September 25, 2013. Based on the employment records provided to
13 Plaintiff by Defendant InGenesisSTGi after the termination of her employment,
14 Plaintiff also exhausted her LWOP by September 27, 2013.
15         48.     During the five-day period in which Plaintiff took military leave between

16 September 23 and 27, 2013, Defendants’ employees and/or agents, including
17 Plaintiff’s direct supervisor, Cory Traywick, the operations manager of InGenesis, and
18 Marne Valeros, a program manager of STGi, decided that they would refuse

19 reemployment to Plaintiff and/or terminate Plaintiff when she sought to return to work
20 on September 30, 2013, at the conclusion of her authorized military leave.
21         49.     Consistent with Defendants’ prior authorization of Plaintiff’s military

22 leave, on September 30, 2013, Plaintiff appeared at her workplace at the usual time
23 and place at approximately 7:40 a.m. and sought to return to her position as a Certified
24 Medical Assistant.
                                                 16
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.17 Page 17 of 27



 1         50.     Shortly after arriving for work, at approximately 9:30 a.m. on September

 2 30, 2013, Plaintiff received a phone call from Colby Jones, an Account Manager for
 3 STG International, Inc., or Marne Valeros, a program manager for STG International,

 4 Inc., both of whom work in the San Diego office. Upon information and belief,
 5 Soraya Mains, a Jr. HR Generalist for InGenesisSTGi, who works in the Alexandria
 6 headquarters, was also on the telephone call. On that telephone call, Plaintiff was told

 7 that Defendants were terminating her because she had exhausted her LWOP. In
 8 response, Plaintiff reminded them that she had exhausted her PTO and LWOP because
 9 she had taken military leave. When Plaintiff asked for a more detailed explanation as
10 to why Defendants were terminating her, she was informed that Defendants’ policy is
11 to terminate employees who exhaust their LWOP, even if employees are on military
12 leave when they exhaust their LWOP. Plaintiff also inquired why her military leave
13 had been approved if engaging in military leave would cause her to exhaust her
14 LWOP and result in her termination. Plaintiff does not recall receiving an answer to
15 that question other than a response reiterating Defendants’ policy.
16         51.     At the time that Defendants refused to reemploy Plaintiff and/or

17 terminated her employment, Plaintiff had not used more than 40 hours of LWOP on
18 days in which she was not engaged in military leave. Thus, it was Plaintiff’s taking

19 leave to serve in the military from September 23 to 27, 2013 that caused Plaintiff’s
20 total amount of LWOP to exceed the 40 hour threshold that Defendants provided to
21 Plaintiff as a right or benefit of employment.

22         52.     On October 9, 2013, Plaintiff requested from Defendants, via e-mail, a
23 written explanation for her termination and/or the refusal of her reemployment by
24 Defendants.
                                                17
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.18 Page 18 of 27



 1        53.     On October 10, 2013, Maribel Contreras, a human resources manager for

 2 STGi and InGenesisSTGi, informed Plaintiff, via e-mail, that “InGenesisSTGi’s
 3 standard practice is to provide verbal separation communication and discuss verbal

 4 separation reasons. No separation notices is provided.”
 5        54.     On October 11, 2013, Plaintiff asked Ms. Contreras for an explanation

 6 for her termination and/or the refusal of her reemployment for the purpose of her

 7 unemployment compensation application. By e-mail on October 11, 2013, Ms.
 8 Contreras advised Plaintiff that she should to indicate “other” on her unemployment
 9 compensation claim form and to “elaborate on the [form by stating] exhausted
10 LWOP.” In other words, Defendants’ reason for terminating and/or refusing
11 reemployment to Plaintiff was that she exhausted her LWOP and that Plaintiff should
12 provide that reason to California unemployment compensation officials.
13        55.     Plaintiff filed a claim for unemployment compensation with the

14 Employment Development Department of the State of California. As instructed,
15 Plaintiff Munoz identified the reason for her termination as “COMPANY STATES
16 THAT I WENT OVER MY MAXIMUM OF 40 HOURS OF LEAVE WITHOUT
17 PAY WHILE COMPLETING MY MILITARY OBLIGATIONS ASA [SIC]
18 RESERVIST.” On behalf of InGenesisSTGi, Ms. Contreras responded to Plaintiff’s

19 unemployment compensation claim on October 30, 2013 by stating that “Per contract
20 requirements, employee may not exceed LWOP over 40 hours per task order.
21 Employee exceeded LWOP 291 hours.”

22        56.     In a letter dated March 20, 2014, Ms. Contreras, on behalf of

23 InGenesisSTGi, stated to the California unemployment agency that:
24
                                               18
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.19 Page 19 of 27



 1        InGenesisSTGi Parners holds a contract with San Diego Navy Ancillary.
          Per contract requirements the contract shall replace any healthcare
 2        worker who has been on LWOP status for a total of 40 hours per task
          order.
 3
          The following information is provided to detail the reason for the
 4        employee’s separation from the company. The employee was discharged
          for violating the excessive leave without pay policy as dictated per the
 5        contract.

 6        During the employee’s six (6) month employment[,] the employee used
          the following leave time:
 7
          808 hours worked of the available 1184 hours
 8
          ►     076.5 hours of PTO (personal time off, earned at 8 hours per 80
 9        hours
                worked)
10        ►     171.5 hours of LWOP (leave without pay)
          ►     120.0 hours of allotted Military leave time
11
          Upon request of the client, the employee was requested to be removed
12        from the contract for exceeding the LWOP policy. InGenesisSTGi did
          not have any other available position and separated the employee from
13        employment service.

14        57.     Following the denial of her reemployment or her termination of

15 employment on September 30, 2013, Plaintiff Munoz immediately began looking for
16 other work, but did not find employment until December 16, 2013. Since December
17 16, 2013, Plaintiff has been employed at Borrego Community Health Foundation.
18 Willfulness of Defendants’ Acts, Practices & Policies

19        58.     Defendants market themselves as human resources specialists. On its

20 web site, Defendant InGenesis claims to have “achieved national recognition as one of
                                           14
21 America’s fastest growing HR companies.” On its web site and in its press releases,

22 Defendant STGi claims to be “a leading provider of . . . human capital [aka human
23 resources], business management . . . services and solutions to federal defense and
          14
24             http://corp.ingenesis.org/AboutUs/Overview.aspx
                                              19
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.20 Page 20 of 27



                    15
 1 civilian client.” As human resources professionals, Defendants knew or were
 2 reckless in not knowing that their practices and policies described above, and as
 3 applied to Plaintiff, clearly violated USERRA.

 4         59.     At the time of her termination, Plaintiff reminded Defendants that she

 5 had exceeded her LWOP because she had used her PTO and LWOP to serve in the
 6 military. Plaintiff’s claim for unemployment compensation explicitly stated that she

 7 “WENT OVER [HER] MAXIMUM 40 HOURS LEAVE WITHOUT PAY WHILE
 8 COMPLETING MY MILITARY OBLIGATIONS ASA [SIC] RESERVIST.” In her
 9 appeal on her claim for unemployment compensation on December 2, 2013, Plaintiff
10 explained: “I WAS UNJUSTLY TERMINATED WHILE COMPLETING MY
11 MILITARY OBLIGATIONS. A LEAVE OF ABSENCE WAS COMPLETED FOR
12 MILITARY LEAVE AND KNOWLEDGE OF MY ABSENCE WAS APPROVED
13 PRIOR TO DEPARTURE.”
14         60.     In light of Defendants’ claimed expertise and Defendants’ decision to

15 maintain and implement the policy despite Plaintiff’s explicit reminder that she had
16 exceeded her leave because she was on approved military leave, Defendants’
17 implementation of their policy was willful.
18                                         COUNT I
                           (Violation of USERRA, 38 U.S.C. § 4316)
19
20         61.     Plaintiff repeats and incorporates the allegations contained in the

21 foregoing paragraphs as if fully set forth herein.

22
23         15
          http://www.stginternational.com/stg2/uploads/Press/Service_Excellence
24 _Awards.pdf
                                                 20
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.21 Page 21 of 27



 1         62.     USERRA, 38 U.S.C. § 4316(a), provides that (a) a person who is

 2 reemployed under USERRA is entitled to the seniority and other rights and benefits
 3 determined by seniority that the person had on the date of the commencement of

 4 service in the uniformed services plus the additional seniority and rights and benefits
 5 that such person would have attained if the person had remained continuously
 6 employed, and (b) subject to exceptions inapplicable here, a person who is absent

 7 from a position of employment by reason of service in the uniformed services shall be
 8 (1) deemed to be on furlough or leave of absence while performing such service; and
 9 (2) entitled to such other rights and benefits not determined by seniority as are
10 generally provided by the employer of the person to employees having similar
11 seniority, status, and pay who are on furlough or leave of absence under a contract,
12 agreement, policy, practice, or plan in effect at the commencement of such service or
13 established while such person performs such service.
14         63.     USERRA, 38 U.S.C. § 4316(d), provides that an employer cannot require

15 a person whose employment is interrupted by a period of service in the uniformed
16 services to “use vacation, annual or similar leave during such period of service.”
17         64.     During at least the time that Plaintiff worked for InGenesisSTGi,

18 Defendants had a policy requiring employees who took military leave to use their

19 PTO during their military service.
20         65.     By adopting, implementing and applying a policy requiring employees

21 who took military leave to use vacation or other leave during their period of military

22 service, Defendants have violated USERRA, 38 U.S.C. §§ 4316(a) and (d).
23
24
                                                21
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.22 Page 22 of 27



 1                                        COUNT II
                           (Violation of USERRA, 38 U.S.C. § 4311)
 2
           66.     Plaintiff repeats and incorporates the allegations contained in the
 3
     foregoing paragraphs as if fully set forth herein.
 4
           67.     USERRA, 38 U.S.C. § 4311, prohibits an employer from discriminating
 5
     against any person who is a member of, applies to be a member of, performs, has
 6
     performed, applies to perform, or has an obligation to perform service in a uniformed
 7
     service with respect to, among other things, employment, reemployment, retention in
 8
     employment, promotion, or any benefit of employment by an employer on the basis of
 9
     that membership, application for membership, performance of service, application for
10
     service, or obligation.
11
           68.     Based on the admissions of Defendants’ employees, Defendants have a
12
     policy of disciplining and/or terminating employees who use what Defendants or its
13
     human resources employees deem to be excessive leave and/or leave without pay to
14
     perform military service.
15
           69.     Plaintiff was refused reemployment and/or terminated on the first
16
     workday that followed her military leave and was told by Defendants that she was
17
     terminated for taking excessive leave without pay. As the decision to refuse
18
     employment and/or terminate Plaintiff was made by and/or with the knowledge of
19
     Colby Jones, an Account Manager for STGi, Marne Valeros, a Program Manager for
20
     STGi, Soraya Mains, a Jr. Human Resources Generalist for InGenesisSTGi, and Cory
21
     Traywick, the operations manager of InGenesis, upon information and belief, a similar
22
     policy applies to the employees of the three Defendants in this action.
23
24
                                                 22
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.23 Page 23 of 27



 1         70.     Based on the statements, actions and admitted policy of Defendants,

 2 Plaintiff’s service in and obligation for service in the uniformed services was a
 3 motivating factor in Defendants’ decision to refuse reemployment and/or terminate

 4 Plaintiff’s employment. Upon information and belief, based on the admitted policy of
 5 Defendants, Defendants have refused reemployment and/or terminated or taken other
 6 adverse action against other employees due to their service in the uniformed services.

 7         71.     By terminating Plaintiff and adopting or applying this policy to any other

 8 members of the Class for using excessive leave without pay to perform military
 9 service, Defendants have violated USERRA, 38 U.S.C. § 4311.
10
                                          COUNT III
11                         (Violation of USERRA, 38 U.S.C. § 4312)

12         72.     Plaintiff repeats and incorporates the allegations contained in the
13 foregoing paragraphs as if fully set forth herein.
14         73.     Pursuant to USERRA, 38 U.S.C. § 4312, any person whose absence from
15 a position of employment is necessitated by reason of service in the uniformed
16 services shall be entitled to the reemployment rights and benefits and other
17 employment benefits under USERRA so long as: (1) the person (or an appropriate
18 officer of the uniformed service in which such service is performed) has given

19 advance written or verbal notice of such service to such person's employer; (2) the
20 cumulative length of the absence and of all previous absences from a position of
21 employment with that employer by reason of service in the uniformed services does

22 not exceed five years; (3) the person serves honorably; and (4) with exceptions not
23 applicable here, the person reports to, or submits an application for reemployment to,
24 such employer in accordance with the provisions of subsection (e).
                                                 23
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.24 Page 24 of 27



 1         74.     Plaintiff provided appropriate advance notice to her immediate

 2 supervisor, Edna Collins, a Senior Nurse Officer at the clinic, and to Elle Ramirez, a
 3 Program Management Assistant for STGi, of her service in the military for service in

 4 April, May and September, 2013.
 5         75.     Immediately before the denial of her reemployment and/or her

 6 termination, Plaintiff’s leave of absence from her employment for service in the

 7 military in September 2013 was less than a week. And her total leave of absence for
 8 service in the military in 2013 was 41 workdays, or less than 330 hours.
 9         76.     The next business day following her military leave in September 2013,

10 Plaintiff reported to her employer for work; however, that morning Plaintiff was
11 informed that she was terminated.
12         77.     Plaintiff was denied reemployment and/or terminated pursuant to a policy

13 that prevents employees from taking excessive leave without pay, even if such leave is
14 used to serve in the military.
15         78.     By denying reemployment and/or terminating Plaintiff and adopting or

16 applying this policy to any other member of the Class for taking excessive leave to
17 serve in the military, Defendants have violated 38 U.S.C. § 4312.
18                                        COUNT IV
                           (Violation of USERRA, 38 U.S.C. § 4313)
19
20         79.     Plaintiff repeats and incorporates the allegations contained in the
21 foregoing paragraphs as if fully set forth herein.

22
           80.     USERRA, 38 U.S.C. § 4313(a), provides for persons whose period of
23
     service in the uniformed services is less than 91 days, subject to certain exceptions not
24
                                                 24
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.25 Page 25 of 27



 1 applicable here, that a person entitled to reemployment under section 4312, upon
 2 completion of a period of service in the uniformed services, shall be promptly
 3 reemployed in a position of employment in the following priority:

 4         (A) in the position of employment in which the person would have been

 5         employed if the continuous employment of such person with the employer had

 6         not been interrupted by such service, the duties of which the person is qualified

 7         to perform; or

 8         (B) in the position of employment in which the person was employed on the

 9         date of the commencement of the service in the uniformed services, only if the

10         person is not qualified to perform the duties of the position referred to in

11         subparagraph (A) after reasonable efforts by the employer to qualify the person.

12         81.     On the next workday following the end of her military service in

13 September 2013, Plaintiff attempted to return to work, but was immediately denied
14 reemployment and/or terminated.
15         82.     According to the statements by Colby Jones, of STGi, Marne Valeros, of

16 STGi, Soraya Mains, of InGenesisSTGi, and/or Cory Traywick, the operations
17 manager of InGenesis, Plaintiff was denied reemployment and/or terminated pursuant
18 to a policy that prevents employees from taking excessive leave without pay, even if

19 such leave is to serve in the military.
20         83.     According to the statement by Maribel Contreras on behalf of

21 InGenesisSTGi and STGi in connection with Plaintiff’s claim for unemployment

22 compensation, Plaintiff was denied reemployment and/or terminated pursuant to a
23 policy that prevents employees from taking excessive leave without pay, even if such
24 leave is to serve in the military.
                                                25
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.26 Page 26 of 27



 1         84.     By denying reemployment and/or terminating Plaintiff and taking similar

 2 adverse action against any other member of the Class for taking excessive leave to
 3 serve in the military, Defendants have violated 38 U.S.C. § 4313(a).

 4                                  PRAYER FOR RELIEF

 5         WHEREFORE, Plaintiff prays that judgment be entered against Defendants on

 6 all claims and respectfully requests that this Court award the following relief:

 7         A.      Declare that Defendants’ policy or practice requiring employees to use

 8 vacation or other leave during the time that they serve in the military violates
 9 USERRA;
10         B.      Declare that Defendants’ policy of refusing reemployment to or taking

11 adverse action, including termination, against employees for the use of excessive
12 leave to perform military service violates USERRA;
13         C.      Enjoin Defendants from enforcing any of those policies with respect to

14 any employees in the future;
15         D.      Require Defendants to offer reinstatement to Plaintiff and any employee

16 whose employment was terminated pursuant to any policy or practice that the Court
17 determines violated USERRA, to provide such employees backpay for lost wages and
18 benefits since their termination, and/or to allow such employees to elect to be

19 reinstated with their leave (and other benefits) restored or have their vacation or other
20 leave paid;
21         E.      Order Defendants to pay Plaintiff and the Class liquidated damages in an

22 amount to be determined at trial, pursuant to 38 U.S.C. § 4323(d)(1)(C);
23         F.      Require Defendants to pay attorneys’ fees and costs pursuant to 38

24 U.S.C. § 4323(h) and/or order the payment of reasonable fees and expenses in this
                                                26
                            CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                 THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
Case 3:14-cv-01547-MMA-BLM Document 1 Filed 06/26/14 PageID.27 Page 27 of 27



 1 action to Plaintiff’s Counsel on the basis of the common benefit and/or common fund
 2 doctrine out of any money or benefit recovered for the Class in this Action;
 3         G.     Order that Defendants are jointly and severally liable for any Order to

 4 pay damages, liquidated damages, and/or attorneys’ fees and costs in this action; and
 5         H.     Grant such other and further relief as the Court deems proper, just and/or

 6 equitable.

 7                                     JURY DEMAND

 8         Pursuant to Federal Rule of Civil Procedure Rule 38 or any similar rule or law,

 9 Plaintiff demands a trial by jury for all causes of action and issues for which trial by
10 jury is available.
11
     Dated: June 26, 2014                   COHEN MILSTEIN SELLERS & TOLL
12                                          PLLC
13
                                      By:
14                                           R. Joseph Barton Cal Bar No. 212340
                                             Attorney for Plaintiff
15
16
17
18

19
20
21

22
23
24
                                                27
                           CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                THE UNIFORMED SERVICES EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT
